         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 1 of 8




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


WESTERN WORLD INSURANCE
COMPANY,

      Plaintiff,
                                               CIVIL ACTION
v.                                             FILE NO.: 12-CV-2117 AT

NARCONON OF GEORGIA, INC.,
NARCONON INTERNATIONAL,
DELGADO DEVELOPMENT, INC.,
PATRICK C. DESMOND AND MARY
C. DESMOND, INDIVIDUALLY,
AND MARY C. DESMOND, AS
ADMINISTRATRIX OF THE ESTATE
OF PATRICK W. DESMOND,

      Defendants.

                    PLAINTIFF'S INITIAL DISCLOSURES

      (1) State precisely the classification of the cause of action being filed, a brief

factual outline of the case including Plaintiff’s contentions as to what Defendant

did or failed to do, and a succinct statement of the legal issues in the case.

      Response: This is a declaratory judgment action seeking an order from

the court declaring and determining that Western World Commercial Lines


                                           1
         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 2 of 8




Policy No. NPP1123556 issued to Narconon of Georgia, Inc. effective August

19, 2007 to August 19, 2008 (“the Western World Policy”) does not obligate

Western World to provide coverage or a defense to Narconon of Georgia, Inc.,

Narconon International for all or part of the causes of action set forth against

them in the underlying civil action: Patrick C. Desmond and Mary C. Desmond,

Individually, and Mary C. Desmond as Administrator of the Estate of Patrick W.

Desmond v. Narconon of Georgia, Inc., Delgado Development, Inc., Lisa

Carolina Robbins, M.D., The Robbins Group, Inc., and Narconon International,

in the State Court of Dekalb County, Georgia; Civil Action No. 10A-28641-2

(the “Underlying Action”). The specific assertions by Plaintiff in this regard

as to the Western World Policy and the reasons that it should be declared not

to cover all or part of those allegations are set forth in the Complaint

Declaratory Judgment.

      (2) Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which Plaintiff contends

are applicable to this action.

      Response: 28 U.S.C. §§ 2201 and 2202; Fed. R. Civ. P. 38, 39 and 57; 28

U.S.C. §§ 1332 (a) (1); and Georgia principals of insurance contract

construction as illustrated in: O'Neal v. State Farm Mut. Auto. Ins. Co., 243

                                        2
         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 3 of 8




Ga. App. 756, 757 (Ga. Ct. App. 2000); North Metro Directories Publ'g, LLC

v. Cotton States Mut. Ins. Co., 279 Ga. App. 492, 495 (Ga. Ct. App. 2006);

Shafe v. Am. States Ins. Co., 288 Ga. App. 315, 317 (Ga. Ct. App. 2007); BBL-

McCarthy, LLC v. Baldwin Paving Co., 285 Ga. App. 494, 497-498 (Ga. Ct.

App. 2007); Claussen v. Aetna Cas. & Surety Co., 259 Ga. 333 (1) (380 S.E.2d

686) (1989); Boardman Petroleum v. Federated Mut. Ins. Co., 269 Ga. 326,

327-328 (Ga. 1998); Allstate Ins. Co. v. Neal, 304 Ga. App. 267 (Ga. Ct. App.

2010); Mingledorff v. Bell, 107 Ga. App. 685, 686-687 (Ga. Ct. App. 1963);

Travelers Indem. Co. v. Nix, 644 F.2d 1130, 1132 (5th Cir. Ga. 1981); Ga.

Mut. Ins. Co. v. Kurtz, 206 Ga. App. 716, 717-718 (Ga. Ct. App. 1992); ALEA

London Ltd. v. Woodcock, 286 Ga. App. 572, 574 (Ga. Ct. App. 2007);

Nationwide Mut. Fire Ins. Co. v. Somers, 264 Ga. App. 421, 426 (Ga. Ct. App.

2003).

      Federated Rural Elec. Ins. Exch. v. R. D. Moody & Assocs., 468 F.3d

1322 (choice of law in diversity actions).

      Convergys Corp. v. Keener, 276 Ga. 808, 811, 582 S.E.2d 84, 86 (2003)

(Georgia’s lex loci contractus.)

      (3) Provide the name and, if known, the address and telephone number of

each individual likely to have discoverable information relevant to disputed facts

                                        3
         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 4 of 8




alleged with particularity in the pleadings, identifying the subjects of the

information. (Attach witness list to Initial Disclosures as Attachment A.)

      Response: See Attachment A.

      (4) Provide the name of any person who may be used at trial to present

evidence under rules 702, 703 or 705 of the Federal Rules of Evidence. For all

experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule. (Attach expert witness list and written reports

to Initial Disclosures as Attachment B.)

      Response: See Attachment B.

      (5) Provide a copy of, or description by category and location of, all

documents, data compilations, and tangible things in your possession, custody or

control that are relevant to disputed facts alleged with particularity in the

pleadings. (Attach document list and description to Initial Disclosures as

Attachment C.)

      Response: See Attachment C.

      (6) In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by category

and location of, the documents or other evidentiary material, not privileged or

protected from disclosure on which such computation is based, including materials

                                           4
         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 5 of 8




bearing on the nature and extent of injuries suffered, making such documents or

evidentiary materials available for inspection and copying under Fed.R.Civ.P. 34.

(Attach any copies and descriptions to Initial Disclosures as Attachment D.)

      Response:      This matter is a declaratory judgment action and no

damages are claimed.

       (7) Attach for inspection and copying as under Fed.R.Civ.P. 34 any

insurance agreement under which any person carrying on an insurance business

may be liable to satisfy part or all of a judgment which may be entered in this

action or to indemnify or reimburse for payments to satisfy the judgment. (Attach

copy of insurance agreement to Initial Disclosures as Attachment E.)

      Response: None

      (8) Disclose the full name, address and telephone number of all persons or

legal entities who have a subrogation interest in the cause of action set forth in

Plaintiff’s cause of action and state the basis and extent of such interest.

      Response: None.

      Respectfully Submitted,

                                     s/R. CLAY PORTER
                                     Georgia Bar No. 584825
                                     s/STEPHEN G. SMITH, JR.
                                     Georgia Bar No. 795287
                                     For the Firm

                                           5
Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 6 of 8




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                             6
         Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 7 of 8




                         CERTIFICATE OF SERVICE

      I hereby certify that on September 26, 2012, I electronically filed

PLAINTIFF'S INITIAL DISCLOSURES with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing to

the following attorneys of record:


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                                       11
        Case 1:12-cv-02117-AT Document 24 Filed 09/26/12 Page 8 of 8




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                          FONT CERTIFICATION

     THIS IS TO CERTIFY that, pursuant to LR 5.1B, NDGa., the above

document was prepared in Times New Roman, 14 pt.

                             DENNIS, CORRY, PORTER & SMITH, LLP

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                                     12
